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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND

JOHN DOE,                                       )
                                                )
          Plaintiff,                            )
                                                )
v.                                              )      Civil Action No.: CCB-20-1815
                                                )
CATHOLIC RELIEF SERVICES,                       )
                                                )
          Defendant.                            )

                                PLAINTIFF JOHN DOE’S
                       MOTION FOR PARTIAL SUMMARY JUDGMENT

          Plaintiff John Doe, by undersigned counsel, pursuant to Federal Rule of Civil Procedure

56, hereby moves for partial summary judgment concerning: (1) Defendant Catholic Relief

Services’ (“CRS”) liability for discrimination on the basis of sex and sexual orientation under

Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C. § 2000e et seq., and the Federal

Equal Pay Act, 29 U.S.C. § 206(d)(1); (2) CRS’s liability for discrimination on the basis of sex

and sexual orientation under the Maryland Fair Employment Practices Act, Md. Code Ann.,

State Gov’t § 20-601 et seq., and the Maryland Equal Pay for Equal Work Act, Md. Code Ann.,

Lab. & Empl. § 3-301 et seq. for discrimination on the basis of sex and sexual orientation; and

(3) CRS’s affirmative defense under the Religious Freedom Restoration Act, 42 U.S.C. § 2000bb

et seq.

          As grounds for this motion, Plaintiff submits the accompanying memorandum in support

thereof and exhibits.

          WHEREFORE, Plaintiff requests that the Court grant his Motion for Partial Summary

Judgment.

                                        Request for Hearing

          Pursuant to Rule 2-311, Plaintiff requests a hearing on this motion.
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DATED: January 31, 2022                   Respectfully submitted,


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                                CERTIFICATE OF SERVICE
       I certify that on January 31, 2022, I electronically filed the foregoing with the Clerk of

Court using the CM/ECF system, which will then send a notification of such filing (NEF) to all

parties of record.


                                                            /s/
                                                     Eve L. Hill, Esq. (Bar. No. 19938)




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